      6:21-cr-00138-RAW Document 200 Filed in ED/OK on 08/30/23 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                        Plaintiff,

 v.                                                       Case No. 21-CR-138 RAW

 DEVIN WARREN SIZEMORE

                        Defendant.


        MOTION TO WITHDRAW AS COUNSEL FOR THE UNITED STATES

        COMES NOW, the United States of America, by and through Christopher J. Wilson,

United States Attorney for the Eastern District of Oklahoma, and moves to allow Trial Attorney

Lisa K. Man to withdraw as counsel in the above-referenced case as she is no longer employed

with the Criminal Division of the U.S. Department of Justice. Trial Attorney Gerald Collins has

previously entered an appearance in this matter and will represent the United States in any further

proceedings before this honorable Court.

                                                     Respectfully submitted,

                                                     CHRISTOPHER J. WILSON
                                                     United States Attorney

                                                     s/ Gerald A.A. Collins         .
                                                     Trial Attorney
                                                     Organized Crime & Gang Section
                                                     Criminal Division
                                                     U.S. Department of Justice
                                                     1301 New York Ave., N.W.
                                                     Washington, D.C. 20005
                                                     Office (202) 514-3594
                                                     Fax (202) 514-3601


                                                1
    6:21-cr-00138-RAW Document 200 Filed in ED/OK on 08/30/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on August 31, 2023, I electronically transmitted the attached document
to the Clerk of Court using the ECF System for filing. Based on the records currently on file, the
Clerk of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

        Lisa Peebles, Counsel for Defendant
        James Egan, Counsel for Defendant

                                              s/Gerald A. A. Collins            .
                                              Trial Attorney




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